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 3

 4        Entered on Docket
     ___________________________________________________________________
         April 22, 2024
 5

 6

 7

 8

 9
      KATHLEEN A. LEAVITT
10
      CHAPTER 13 BANKRUPTCY TRUSTEE
11    711 South 4th Street, Suite 101
      Las Vegas, Nevada 89101
12    (702) 853-0700
      kal13mail@las13.com
13
                                    UNITED STATES BANKRUPTCY COURT
14

15                                           DISTRICT OF NEVADA

16    In re:                                              )      Case No. 23-14385-MKN
                                                          )      Chapter 13
17    DONALD SCOTT HERMAN,                                )
                                                          )      ORDER DISMISSING CASE
18
                                                          )
19                                  Debtor(s).            )      Hearing Date: April 17, 2024
                                                          )      Hearing Time: 2:30 p.m.
20

21             The Debtor(s)’ Chapter 13 Plan having been filed and come on for a confirmation hearing on the
22
      date and time above-captioned; Debtor(s) being represented by Michael J. Harker, Esq. and Trustee being
23
      represented by counsel at the hearing; the Trustee having filed an Opposition, the Court having entered a
24
      Conditional Order and an extension of the Conditional Order and the Court having considered the
25

26    arguments of counsel on the record, now therefore for good cause appearing;

27             IT IS HEREBY ORDERED that the above-captioned bankruptcy case is DISMISSED pursuant

28
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1    to 11 U.S.C. §1307(c)(1) for failure to comply with the Conditional Order entered as Docket No. 38 and
2    modified by Docket No. 46.
3
     IT IS SO ORDERED.
4

5    Submitted by:
6    /s/ Danielle N. Gueck-Townsend
7    DANIELLE N. GUECK-TOWNSEND, ESQ.
     Nevada Bar No. 12164
8    711 South 4th Street, Suite 101
     Las Vegas, Nevada 89101
9    Attorney for Kathleen A. Leavitt,
     Chapter 13 Bankruptcy Trustee
10
     Dated:         4/18/2023
11
     LR 9021 CERTIFICATION:
12
     In accordance with LR 9021, attorney submitting this document certifies:
13
      x     The court has waived the requirement set forth in LR 9021(b)(1).
14
           No party appeared at the hearing or filed an objection to the motion.
15
       _ I have delivered a copy of this proposed order to all counsel who appeared at the hearing, and each has
16   approved or disproved the order, or failed to respond, as indicated below:
17
                                                              Approved:
18                                                            Disapproved:
                                                              Failed to Respond:
19

20         I certify that this is a case under chapter 7 or 13, that I have served a copy of this order with the motion
     pursuant to LR 9014(g), and that no party has objected to the form or content of the order.
21                                                           2
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